






NO. 07-03-0181-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



AUGUST 18, 2003



______________________________




JOSE SANTOS CERVANTES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 64TH DISTRICT COURT OF HALE COUNTY;



NO. A14649-0209; HONORABLE JACK R. MILLER, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

ABATEMENT AND REMAND


	Pursuant to a plea of guilty, appellant Jose Santos Cervantes was convicted of theft
and punishment was assessed at two years in a state jail facility, suspended for five years. 
The clerk's record and reporter's record have both been filed.  Appellant's brief was due
to be filed on or before June 30, 2003, but has yet to be filed.  Also, no motion for
extension of time has been filed.  By letter dated July 25, 2003, this Court notified
appellant, proceeding pro se, of the defect and directed him to explain by August 5, 2003,
why the brief has not been filed.  Appellant did not respond and the brief remains
outstanding.

	Therefore, we now abate this appeal, and remand the cause to the trial court for
further proceedings pursuant to Rule 38.8(b)(2) and (3) of the Texas Rules of Appellate
Procedure.  Upon remand, the trial court shall immediately cause notice of a hearing to be
given and, thereafter, conduct a hearing to determine the following:  

	1.  	whether appellant desires to prosecute the appeal; and

	2.	whether appellant is indigent and entitled to appointed counsel;

The trial court shall cause a hearing to be transcribed.  Should it be determined that
appellant does want to continue the appeal and is indigent, then the trial court shall also
take such measures as may be necessary to assure appellant effective assistance of
counsel, which measures may include the appointment of new counsel.  If new counsel is
appointed, the name, address, telephone number, and state bar number of said counsel
shall be included in the order appointing new counsel.  Finally, the trial court shall execute
findings of fact, conclusions of law, and such orders as the court may enter regarding the
aforementioned issues, and cause its findings and conclusions to be included in a
supplemental clerk's record.  A supplemental record of the hearing shall also be included
in the appellate record.  Finally, the trial court shall file the supplemental clerk's record and
the supplemental reporter's record with the Clerk of this Court by Friday, September 26,
2003.

	It is so ordered.


	Per Curiam

									


Do not publish.


